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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )     Case No. 22-cr-00354-RCL
                                  )
RICHARD SLAUGHTER et al,          )
                                  )
                 Defendant        )
                                  )




DEFENDANTS RICHARD SLAUGHTER AND CADEN GOTTFRIED’S MOTION
                    TO CONTINUE TRIAL




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        NOW COMES, Defendants Richard Slaughter and Caden Gottfried by

and through their undersigned counsel of record, William L. Shipley, and

respectfully files this Motion to Continue Trial currently set for January 7,

2025.

        Defendants Slaughter and Gottfried reside in the State of Washington,

and the undersigned counsel is currently residing in Northern California. All

are set to travel on January 6, 2025, to the District of Columbia for trial set to

begin on January 7, 2025.

        As reported by many weather service and news media outlets, a winter

weather “Polar Vortex” storm is forecast to descent into the United States over

the next several days. As of the filing of this motion, Erie, Pennsylvania, other

parts of northern Pennsylvania, and parts of Upstate New York have already

begun to receive more than a foot of snowfall from the leading edge of this

storm. The snowfall amounts forecast for the District of Columbia vary from 6

to 12 inches for January 6, 2025.

        Given the historical realities of the DC Government in dealing with

significant snowfall – it lacks the equipment necessary to quickly clear streets

in the District -- it is highly unlikely that government operations would

continue as normal on January 7, 2025. Resumption of “normal” activities

would likely not come until January 8 – at the earliest.

        In addition, all federal buildings are now scheduled to be closed on

January 9, 2025, in honor of the Day of Mourning for former President James

Earl Carter. Even if the trial does commence on January 8, it is unlikely that it

would be completed on January 10 -- the second day of trial. Undersigned
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counsel has a planned family obligation on Sunday, January 12 in

Sacramento, California, and other case obligations on January 13 and 14,

2025.

        Undersigned counsel is set to return to the District on January 15 for

two sentencing hearings on January 16 – one before this Court. If the Court is

available, the undersigned counsel could start trial on the afternoon of January

15, with an expectation that the trial could be completed by January 17. It is

in the interests of the Defendants to begin and end this trial with only a single

cross-country trip being necessary.

        Undersigned has conferred with the Government who are opposed.

        Wherefore, Defendants respectfully request that this Court continue the

January 7, 2025, trial date and set a video Status Conference for January 6,

2025, in order to select a new trial date.




Dated: January 3, 2025                Respectfully Submitted,

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